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                     Defendant Mattel, Inc.
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                  10
                                               UNITED STATES DISTRICT COURT
                  11
                                           CENTRAL DISTRICT OF CALIFORNIA
                  12
                                                    EASTERN DIVISION
                  13
                       CARTER BRYANT, an individual,           CASE NO. CV 04–9049 SGL (RNBx)
                  14
                                  Plaintiff,                   Consolidated with
                  15                                           Case No. CV 04–09059
                            vs.                                Case No. CV 05–02727
                  16
                     MATTEL, INC., a Delaware                  MATTEL'S EX PARTE
                  17 corporation,                              APPLICATION (1) FOR ORDER
                                                               COMPELLING COMPLIANCE OF
                  18              Defendant.                   LARRY MCFARLAND,
                                                               MITCHELL KAMARCK AND
                  19                                           DAPHNE GRONICH WITH TRIAL
                       AND CONSOLIDATED ACTIONS                SUBPOENAS, AND (2) FOR
                  20                                           CONDITIONAL ADMISSION OF
                                                               EVIDENCE; AND
                  21
                                                               MEMORANDUM OF POINTS AND
                  22                                           AUTHORITIES
                  23
                                                               Hearing Date:     July 24, 2008
                  24                                           Time:             3:00 p.m.
                                                               Place:            Courtroom 1
                  25
                  26                                           Phase 1:
                                                               Trial Date:       May 27, 2008
                  27
                  28
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                   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2               Pursuant to Local Rule 7-19, Mattel, Inc. respectfully submits this ex
                   3 parte application for an Order (1) compelling Larry McFarland to appear for trial on
                   4 Friday, July 25, 2008, (2) compelling Daphne Gronich and Mitchell Kamarck to
                   5 appear for trial on August 5, 2008, (3) permitting the conditional admission of those
                   6 exhibits Mattel intends to introduce through these witnesses, including without
                   7 limitation Trial Exhibits 10, 17, 505, 507, 509, 509, 511, 557, 558, 559, 560, 561,
                   8 561, 562, 563, 564, 5463, 5473, 5477, 10173, 10234, 11840, 13119, 13561, 13561,
                   9 13572, 13690, 13691, 13692, 13692, 13693, 13695, 13696, 13696, 13697, 13697,
                  10 13698, 13698, 13699, 13699, 13700, 13700, 13705, 13706, 13707, 13708, 13709,
                  11 13710, 13711, 13712, 13713, 13714, 13715, 13718, 13721, 13725, 13729, 13730,
                  12 13731, 13732, 13733, 13734, 13735, 13736, 13738, 13740, 13741, 13742, 13743,
                  13 13747, 13751, 13753, 13754, 13755, 13756, 13783, 13784, and 13785, and
                  14 (4) ordering that Mattel may recall Isaac Larian to the stand after these witnesses
                  15 testify.
                  16               This Application is made pursuant to Federal Rule of Civil Procedure
                  17 45 on the grounds that, despite trial subpoenas requiring these witnesses to appear,
                  18 and despite Mattel's repeated requests that they appear and give testimony on either
                  19 July 23, 2008 or July 25, 2008, each has stated that they are unavailable to testify
                  20 until August 5, 2008. Mattel will be prejudiced if it is unable to call these witnesses
                  21 to testify or if the Trial Exhibits to admitted through these witnesses are not
                  22 conditionally admitted prior to the testimony of Isaac Larian. See Mission Power
                  23 Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488 (C.D. Cal. 1995) (ex
                  24 parte is warranted upon a showing of prejudice).
                  25               Pursuant to Local Rule 7-19, Mattel gave notice of its intent to file this
                  26 ex parte on July 23, 2008 to counsel for Daphne Gronich, Mitchell Kamark, MGA
                  27 Entertainment, Inc., MGAE de Mexico, S.A. de C.R.L., MGA Entertainment (HK)
                  28 Limited, Isaac Larian (collectively "MGA"), Lauren Aguiar of Skadden, Arps, Slate,
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                   1 Meagher & Flom LLP (telephone: 212-735-2235; address: 4 Times Square, New
                   2 York, NY 10036), and Larry McFarland of Keats, McFarland & Wilson, LLP
                   3 (telephone: 310-248-3830; address: 9720 Wilshire Boulevard, Penthouse Suite,
                   4 Beverly Hills, California 90212). MGA indicated that it would oppose this
                   5 Application. Mr. McFarland did not respond.1
                   6              This Application is based on this Notice of Application, the
                   7 accompanying Memorandum of Points and Authorities, the Declaration of Cyrus S.
                   8 Naim filed concurrently herewith, and all other matters of which the Court may take
                   9 judicial notice.
                  10
                  11 DATED: July 24, 2008                QUINN EMANUEL URQUHART OLIVER &
                                                         HEDGES, LLP
                  12
                  13
                                                         By /s/ Michael T. Zeller
                  14                                       Michael T. Zeller
                                                           Attorneys for Mattel, Inc.
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                         1
                  26       Despite Mattel's inquiries, MGA's counsel would not confirm that they
                  27 represent Mr. McFarland. In any event, Mattel gave notice of this ex parte to Mr.
                     McFarland as well as MGA's counsel.
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                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                   2                                       Introduction
                   3               Mattel needs the Court's assistance to ensure that three MGA lawyers
                   4 with direct, personal knowledge of MGA's prior judicial admissions will appear to
                   5 testify and that Mattel will be permitted to fully and fairly examine Isaac Larian at
                   6 trial tomorrow. As this Court has ruled, MGA's inconsistent factual statements in
                   7 other litigation are relevant and admissible. The witnesses at issue on this motion
                   8 are Larry McFarland, Daphne Gronich and Mitchell Kamarck. Each witness has
                   9 been properly served with a subpoena. Two of them have on-call agreements in
                  10 which they promised to appear on 48 hours' notice. Mattel has made clear since last
                  11 week that it needs and expects these witnesses to appear this week. In response,
                  12 MGA has provided moving target claims about their availability, including last-
                  13 minute announcements that the witnesses have other purported commitments that
                  14 take precedence over their obligations to appear as witnesses in this federal trial.
                  15 Most recently, after having declined to produce them earlier this week, MGA
                  16 revealed yesterday that none of these three witnesses will appear on Friday either.
                  17               Mattel must have the ability to call these witnesses. MGA is
                  18 inappropriately dictating the presentation of Mattel's case through the refusal of
                  19 present and former counsel -- all of whom are officers of this Court -- to comply
                  20 with trial subpoenas except when convenient for them. Their refusals to appear also
                  21 will prevent Mattel from having dolls MGA sued upon in prior litigation admitted
                  22 into evidence before Isaac Larian takes the stand on Friday. Though both parties
                  23 have attempted to make accommodations when a particular witness is legitimately
                  24 unavailable on any given day, it is simply unreasonable when three separate
                  25 witnesses profess to be wholly unavailable for either of two trial days. Mattel
                  26 cannot adequately present its case in the current circumstances.
                  27               In short, timely compliance with duly issued subpoenas seems to be
                  28 optional to each of these attorney-witnesses, as it apparently does to MGA. An
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                   1 Order is necessary because Mattel is prejudiced by the failure of these witnesses to
                   2 comply. Accordingly, Mattel respectfully requests that the Court (1) compel Larry
                   3 McFarland to appear for trial on Friday, July 25, 2008, (2) compel Daphne Gronich
                   4 and Mitchell Kamarck to appear for trial on August 5, 2008, (3) conditionally admit
                   5 the exhibits Mattel intends to introduce through these witnesses and (4) order that
                   6 Mattel may recall Isaac Larian to the stand after these witnesses testify.
                   7                                        Argument
                   8               Each of the three witnesses has acted as counsel for MGA and are
                   9 presumably cooperative with their client, MGA. These witnesses are, furthermore,
                  10 officers of this Court. MGA and the witnesses have had ample notice of the fact
                  11 that each of these witnesses were to appear at the start of Phase 1(b) of Mattel's case.
                  12 Indeed, Mattel stated in open court and in filings on July 18, 2008 that it intended to
                  13 call these witnesses to testify in Phase 1(b).2 That Phase commenced on July 23.
                  14 Nevertheless, all three of these MGA witnesses -- from whom Mattel needs key
                  15 testimony regarding the inconsistent positions MGA has taken in other litigation --
                  16 have declined to appear on any trial day this week, including through last-minute
                  17 claims of unspecified scheduling conflicts.3
                  18               More specifically, Larry McFarland was served with a subpoena on
                  19 July 16, 2008.4 Mr. McFarland served as MGA counsel in litigation in which MGA
                  20 took positions inconsistent with its positions in this suit. The subpoena required Mr.
                  21 McFarland to appear at trial with documents and items -- including the dolls MGA
                  22 has sued upon in prior litigation -- at the start of phase 1(b) trial. Mr. McFarland
                  23
                         2
                  24       Trial Tr. dated July 18, 2008, at 5102:8-20, attached as Exhibit 11 to the
                  25 concurrently filed Declaration of Cyrus S. Naim ("Naim Dec."); see also [Amended]
                     List of Witnesses Mattel Intends to Call in Its Case-in-Chief in Phase 1B, dated July
                  26 18, 2008, Naim Dec., Exh. 9.
                        3
                  27       Naim Dec., Exhs. 5, 12.
                        4
                           Naim Dec., Exh. 1.
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                   1 accepted service of the subpoena.5 It was not until the afternoon of July 22, 2008
                   2 that Mr. McFarland purported to make himself available to testify, although only on
                   3 a unilaterally imposed condition that was not acceptable to Mattel.6 That same
                   4 evening, Mattel again informed Mr. McFarland that he should appear to testify on
                   5 July 23, with the subpoenaed documents and original items.7
                   6               On July 23, 2008, Mr. McFarland claimed in response that for various
                   7 reasons he was not available to testify that day.8 Mattel responded that, subject to
                   8 the Court ruling upon the motion to quash his subpoena, he would be required for
                   9 testimony on Friday, July 25, 2008.9 Again, Mr. McFarland resisted. At 6:40 p.m.
                  10 on July 23, he wrote: "[a]s you know I accepted service of the subpoena. However
                  11 I have client commitments on Friday, but I am available on what I think is the next
                  12 court day which is Tuesday August 5."10 Mattel responded that despite
                  13 Mr. McFarland's vaguely described "client commitments," Mattel still expected his
                  14 appearance on July 25, 2008.11 Subsequent efforts by Mattel to confirm with Mr.
                  15 McFarland and MGA that Mr. McFarland would in fact appear were unavailing.12
                  16
                  17
                          5
                  18         Email chain ending with email from Larry McFarland to James Webster, dated
                       July 23, 2008, at 6:40 p.m., Naim Dec., Exh. 5. Mr. McFarland was previously
                  19
                       ordered by the Court to accept service of subpoenas for his clients -- former MGA
                  20   employees -- who were evading service. Civil Minutes Order, dated February 25,
                       2008, Naim Dec., Exh. 10.
                  21      6
                             Email chain ending with email from Larry McFarland to James Webster, dated
                  22   July 23, 2008, at 9:13 a.m., Naim Dec., Exh. 4.
                          7
                             Id.
                  23      8
                             Id.
                          9
                  24         Email chain ending with email from Larry McFarland to James Webster, dated
                  25   July 23, 2008, at 6:40 p.m., Naim Dec., Exh. 5.
                          10
                              Id.
                          11
                  26          Email chain ending with an email from Lauren Aguiar to Michael Zeller and
                  27   John Quinn, dated July 23, 2008, at 8:38 p.m., Naim Dec., Exh. 6.
                          12
                              Id.
                  28
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                   1               Daphne Gronich is former General Counsel of MGA. Ms. Gronich was
                   2 responsible for MGA's litigation at a time when MGA made relevant admissions in
                   3 litigation proceedings, i.e. of which Mattel will adduce evidence in Phase 1(b).
                   4 Ms. Gronich was served with a trial subpoena on May 2, 2008.13 Until July 23,
                   5 MGA had stated that Ms. Gronich could not appear on July 23, but indicated her
                   6 potential availability on July 25.14 The stated reason Ms. Gronich couldn't appear
                   7 on July 23 was that she wanted to attend a deposition -- as it turned out, she attended
                   8 the deposition as an observer only.15 Then, on July 23, MGA informed Mattel for
                   9 the first time that Ms. Gronich would not appear until August 5.16
                  10               Mitchell Kamarck -- another former General Counsel of MGA during a
                  11 time when judicial admissions relevant to Phase 1(b) were made -- was served with
                  12 a trial subpoena on April 30, 2008.17 MGA initially stated that it left messages for
                  13 Mr. Kamarck, but that MGA was unable to provide information as to when and
                  14 whether Mr. Kamarck would appear.18 On the afternoon of July 23, MGA informed
                  15 Mattel that Mr. Kamarck would not be available to appear until August 5.19
                  16
                  17      13
                              Naim Dec., Exh. 2.
                          14
                  18          Email chain ending with an email from John Quinn to Lauren Aguiar,
                       Michael Zeller, and Jon Corey, dated July 21, 2008, at 5:05 p.m., Naim Dec., Exh.
                  19
                       7; email chain ending with an email from Lauren Aguiar to Michael Zeller, dated
                  20   July 21, 2008, at 10:06 p.m., Naim Dec., Exh. 8.
                           15
                              Naim Dec., ¶ 9; email chain ending with an email from Lauren Aguiar to
                  21
                       Michael Zeller, dated July 21, 2008, at 10:06 p.m., Naim Dec., Exh. 8.
                           16
                  22          Trial Transcript dated July 23, 2008, P.M. Session, at 5565:20-5566:13, Naim
                       Dec., Exh. 12.
                  23       17
                              Naim Dec., Exh. 3.
                           18
                  24          Email chain ending with an email from John Quinn to Lauren Aguiar,
                  25   Michael Zeller, and Jon Corey, dated July 21, 2008, at 5:05 p.m., Naim Dec., Exh.
                       7; email chain ending with an email from Lauren Aguiar to Michael Zeller, dated
                  26   July 21, 2008, at 10:06 p.m., Naim Dec., Exh. 8.
                           19
                  27          Trial Transcript dated July 23, 2008, P.M. Session, at 5565:20-5566:13, Naim
                       Dec., Exh. 12.
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                   1               Mattel is being prejudiced by MGA's lack of reasonable cooperation
                   2 because it threatens to impede Mattel's ability to put on its case-in-chief in an
                   3 orderly, cogent fashion. It is simply not reasonable to refuse to produce three
                   4 separate witnesses for either of two trial days, especially on an issue as important to
                   5 Mattel's case as MGA's prior judicial admissions. As this Court has made clear,
                   6 MGA's prior statements in prior suits are relevant and admissible. MGA should not
                   7 be permitted to thwart their introduction through further, moving target claims of
                   8 unavailability by these lawyers. Mr. McFarland should be ordered to appear at trial
                   9 on July 25, 2008. To ensure there is no further last-minute "slippage" of their
                  10 availability, Ms. Gronich and Mr. Kamarck also should be ordered to appear on
                  11 August 5, 2008.
                  12               At a minimum, Mattel asks the Court to conditionally admit into
                  13 evidence the items and documents Mattel planned to admit through these witnesses
                  14 before Isaac Larian is called to testify on Friday. Unless the exhibits are
                  15 conditionally admitted, Mattel will be unable to cross-examine Mr. Larian on key
                  16 subjects and will have its case impeded. Also at a minimum, Mattel asks that this
                  17 Court order Mr. McFarland to appear on July 25, 2008 with the originals of the
                  18 items MGA has accused of infringement, as requested in his trial subpoena, and
                  19 authenticate them, and allow the conditional admission of the exhibits listed above.
                  20 Finally, Mattel should be permitted the right to recall Isaac Larian after these
                  21 witnesses have testified.
                  22 /
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                   1                                      Conclusion
                   2              For all the foregoing reasons, Mattel respectfully requests that its
                   3 Application be granted.
                   4
                   5 DATED: July 24, 2008                QUINN EMANUEL URQUHART OLIVER &
                                                         HEDGES, LLP
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                   7
                                                          By /s/ Michael T. Zeller
                   8                                        Michael T. Zeller
                                                            Attorneys for Mattel, Inc.
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